                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-2360
                      Lower Tribunal No. CF-19-001013
                      _____________________________

                            RAFAEL NILO LORENZO,

                                   Appellant,
                                       v.

                               STATE OF FLORIDA,

                                   Appellee.
                      _____________________________

                Appeal from the Circuit Court for Collier County.
                           Elizabeth V. Krier, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

TRAVER, C.J., and WOZNIAK and SMITH, JJ., concur.


Keith W. Upson, of The Upson Law Group, P.L., Naples, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Krystle Celine Cacci, Assistant
Attorney General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
